






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00721-CR







Andre Demar Gipson, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. D-1-DC-07-302550, HONORABLE FRED A. MOORE, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Andre Demar Gipson seeks to appeal a judgment convicting him of aggravated
robbery.  Sentence was imposed on August 7, 2008, and there was a timely motion for new trial.  The
deadline for perfecting appeal was therefore November 5, 2008.  See Tex. R. App. P. 26.2(a)(2). 
Gipson's notice of appeal was filed on November 6.  The State has filed a motion to dismiss the
appeal to which Gipson's counsel has not responded.

We lack jurisdiction to dispose of the purported appeal in any manner other than by
dismissing it for want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.1998);
Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).  The State's motion to dismiss
is&nbsp;granted.


The appeal is dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   October 1, 2009

Do Not Publish


